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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE COMMISSION,

                              Plaintiff,
                                                          Case No. 20-CV-10832 (AT) (SN)
       v.

RIPPLE LABS INC., BRADLEY
GARLINGHOUSE, and CHRISTIAN A.
LARSEN,

                              Defendants.


     DECLARATION OF CHRISTOPHER S. FORD IN SUPPORT OF DEFENDANTS'
       OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

       I, Christopher S. Ford, hereby declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

1.     I am an attorney employed by the law firm of Debevoise & Plimpton LLP, counsel to

defendant Ripple Labs, Inc. I submit this declaration in support of Defendants' Response to

Plaintiff's Local Rule 56.1 Statement in Opposition to Plaintiff's Motion for Summary

Judgment.

2.     Attached as Exhibit 107 to this declaration is a true and correct copy of the Certificate of

Merger dated December 3, 2021, by which XRP II, LLC, merged with and into Ripple Markets

DE LLC (File No. 6440887).

3.     Attached as Exhibit 108 to this declaration is a true and correct copy of the website titled

"XRPL's Origin: Provide a Better Alternative to Bitcoin," available at

https://xrpl.org/history.html (last accessed October 17, 2022).
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4.       Attached as Exhibit 109 to this declaration is a true and correct copy of the website titled

"Transaction Cost," available at https://xrpl.org/transaction-cost.html (last accessed October 17,

2022).

5.       Attached as Exhibit 110 to this declaration is a true and correct copy of the document

family bearing Bates number RPLI SEC 344269.

6.       Attached as Exhibit 111 to this declaration is a true and correct copy of the Reddit post

titled "How Ripple supposed to be mass adopted without a proper wallet in place?" showing all

comments, available at https://www.reddit.com/r/Ripple/comments/61v8r0/comment/

%20(showing%20a11%20comments)/ (last accessed October 17, 2022).

7.       Attached as Exhibit 112 to this declaration is a true and correct copy of the Bitcoin

Forum thread titled "How the Ripple payment network and XRP are different from Bitcoin,"

available at https://bitcointalk.org/index.php?topic=148278.msg2123720#msg2 123720 (last

accessed October 17, 2022).

8.       Attached as Exhibit 113 to this declaration is a true and correct copy of the press release

titled "Ripple Labs Announces $3.5 Million Investment Round" dated November 12, 2013,

available at https://www.globenewswire.com/fr/news-release/2013/11/12/1146606/0/en/Ripple-

Labs-Announces-3-5-Million-Investment-Round.html (last accessed October 17, 2022).

9.       Attached as Exhibit 114 to this declaration is a true and correct copy of the document

family bearing Bates number RPLI SEC 0392750.

10.      Attached as Exhibit 115 to this declaration is a true and correct copy of document

bearing Bates number RPLI SEC 0350045.

11.      Attached as Exhibit 116 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 1094562.


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12.   Attached as Exhibit 117 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0377213.

13.   Attached as Exhibit 118 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003195.

14.   Attached as Exhibit 119 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003196.

15.   Attached as Exhibit 120 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003197.

16.   Attached as Exhibit 121 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003198.

17.   Attached as Exhibit 122 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003203.

18.   Attached as Exhibit 123 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003204.

19.   Attached as Exhibit 124 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003241.

20.   Attached as Exhibit 125 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003242.

21.   Attached as Exhibit 126 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003254.

22.   Attached as Exhibit 127 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003255.




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23.    Attached as Exhibit 128 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003274.

24.    Attached as Exhibit 129 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003275.

25.    Attached as Exhibit 130 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003276.

26.    Attached as Exhibit 131 to this declaration is a true and correct copy of the document

bearing Bates number LARSEN-SEC-LIT-00003277.

27.    Attached as Exhibit 132 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0842643.

28.    Attached as Exhibit 133 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EPROD-000786925.

29.    Attached as Exhibit 134 to this declaration is a true and correct copy of Plaintiff's First

Set of Requests for Admission to Defendant Ripple Labs, Inc.

30.    Attached as Exhibit 135 to this declaration is a true and correct copy of the Errata Sheet

for the Deposition of Christian Larsen dated October 25, 2021.

31.    Attached as Exhibit 136 to this declaration is a true and correct copy of the article titled

"Why Ripple Protocol is great? Exclusive Interview with Denis Kiselev, Founder SnapSwap,"

dated June 25, 2014, available at https://gomedici.com/ripple-protocol-great-exclusive-

interview-denis-kiselev-founder-snapswap (last accessed October 17, 2022).

32.    Attached as Exhibit 137 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0057441.




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33.      Attached as Exhibit 138 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000456558.

34.      Attached as Exhibit 139 to this declaration is a true and correct copy of the Linkedln

profile of Laura Shin, available at https://www.linkedin.com/in/laurashin/ (last accessed October

17, 2022).

35.      Attached as Exhibit 140 to this declaration is a true and correct copy of the November

18, 2021 Deposition Transcript of

36.      Attached as Exhibit 141 to this declaration is a true and correct copy of the press release

titled "SEC Issues Investigative Report Concluding DAO Tokens, a Digital Asset, Were

Securities," dated July 25, 2017, available at https://www.sec.gov/news/press-release/2017-131

(last accessed October 17, 2022).

37.      Attached as Exhibit 142 to this declaration is a true and correct copy of the website titled

"Investor Bulletin: Initial Coin Offerings," dated July 25, 2017, available at https://www.

investor.gov/introduction-investing/general-resources/news-alerts/alerts-bulletins/investor-

bulletins-16 (last accessed October 17, 2022).

38.      Attached as Exhibit 143 to this declaration is a true and correct copy of the website titled

"Statement by the Divisions of Corporation Finance and Enforcement on the Report of

Investigation on The DAO," dated July 25, 2017, available at https://www.sec.govinews/public-

statement/corpfin-enforcement-statement-report-investigation-dao (last accessed October 17,

2022).

39.      Attached as Exhibit 144 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 1079990.




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40.    Attached as Exhibit 145 to this declaration is a true and correct copy of the website titled

"Ripple Labs Inc. Resolves Criminal Investigation," dated May 5, 2015, available at

https://www.justice.gov/usao-ndca/pr/ripple-labs-inc-resolves-criminal-investigation (last

accessed October 17, 2022).

41.    Attached as Exhibit 146 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0376143.

42.    Attached as Exhibit 147 to this declaration is a true and correct copy of the document

bearing Bates number BS-LTD-00000005.

43.    Attached as Exhibit 148 to this declaration is a true and correct copy of the order

voluntarily dismissing the petition in Coffey v. Ripple Labs, Inc., No. 18-CV-03286 (N.D. Cal.

August 22, 2018), ECF No. 29.

44.    Attached as Exhibit 149 to this declaration is a true and correct copy of the press release

titled "OKCoin Lists Five New Cryptocurrencies Trading Against USD, BTC and ETH: XRP,

Cardano, Stellar, Zcash and Ox," dated September 19, 2018, available at https://www.prweb.

com/releases/okcoin_lists_five new cryptocurrencies trading against usd btc and eth xrp

cardano stellar zcash and Ox/prweb15770395.htm (last accessed October 17, 2022).

45.    Attached as Exhibit 150 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000471051.

46.    Attached as Exhibit 151 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000470685.

47.    Attached as Exhibit 152 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000471395.




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48.    Attached as Exhibit 153 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000470934.

49.    Attached as Exhibit 154 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 1079990.

50.    Attached as Exhibit 155 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000471124.

51.    Attached as Exhibit 156 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000471184.

52.    Attached as Exhibit 157 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000471315.

53.    Attached as Exhibit 158 to this declaration is a true and correct copy of Plaintiff's

Answers and Objections to Defendants' Fourth Set of Requests for Admission.

54.    Attached as Exhibit 159 to this declaration is a true and correct copy of Plaintiff's

Amended Answers and Objections to Defendants' Fourth Set of Requests for Admission

Pursuant to Order Dated July 19, 2022.

55.    Attached as Exhibit 160 to this declaration is a true and correct copy of the article by

James J. Park & Howard H. Park, Regulation by Selective Enforcement: The SEC and Initial

Coin Offerings, 61 Wash. U. J. L. & Pol'y 99, 126 (2020).

56.    Attached as Exhibit 161 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 1141377.

57.    Attached as Exhibit 162 to this declaration is a true and correct copy of the website titled

"Statement on Potentially Unlawful Online Platforms for Trading Digital Assets," dated March




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7, 2018, available at https://www.sec.gov/news/public-statement/enforcement-tm-statement-

potentially-unlawful-online-platforms-trading (last accessed October 17, 2022).

58.    Attached as Exhibit 163 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0905225.

59.    Attached as Exhibit 164 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0304637.

60.    Attached as Exhibit 165 to this declaration is a true and correct copy of the document

bearing Bates number NYRO RIPPLE IRIS 000212.

61.    Attached as Exhibit 166 to this declaration is a true and correct copy of the document

bearing Bates number RPLI SEC 0053572.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Dated: October 18, 2022
       New York, NY
                                             By:     /s/ Christopher S. Ford
                                                     Christopher S. Ford




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